Case 1:21-cv-02109-RM-KLM Document 8 Filed 08/04/21 USDC Colorado Page 1 of 4
                                        EXHIBIT A


    DISTRICT COURT OF WELD COUNTY, STATE OF
    COLORADO
                                                              DATE FILED: June 30, 2021 1:37 PM
                            th                                FILING ID: 1C1543045500E
    Court Address: 901 9 Ave., Greeley, CO 80631              CASE NUMBER: 2021CV30389

    Phone Number: 970-475-2400
    Plaintiff:
    Marilyn Norman
                                                                        5Court Use Only5
    v.

    Defendant:
    Dillon Companies, LLC d/b/a KING SOOPERS, INC.
    Plaintiff’s Attorney:

    Justin A. Dillmore, Esq. #50942                               Case No.:
    DILLMORE LAW LLC
    3000 Lawrence Street, #35                                     Division:
    Denver, Colorado 80210
    Phone: 720-934-4284
    Facsimile: 720-257-0647
    Email:     justin@dillmorelaw.com


                             CIVIL COMPLAINT AND JURY DEMAND

           The Plaintiff, Marilyn Norman, by and through her undersigned attorney,
    Dillmore Law LLC, hereby submits her Civil Complaint and Jury Demand and asserts:

                                 JURISDICTION AND VENUE

    1.     At all times relevant to this action, Plaintiff Marilyn Norman (hereinafter
           “Plaintiff”) resided in Colorado.

    2.     Upon information and belief, at all times relevant to this action, Dillon
           Companies, LLC d/b/a King Soopers, Inc., is a foreign limited liability company
           organized in the State of Kansas (hereinafter “Defendant”).

    3.     Pursuant to C.R.S. § 13-1-124(1)(b), this Court has personal jurisdiction over the
           Defendant because they committed one or more tortious acts in the state of
           Colorado.

    4.     Pursuant to Colo. Const. Art. VI, § 9(1), this Court has subject matter jurisdiction
           over this matter since this Court has original jurisdiction in all civil cases.

    5.     Pursuant to C.R.C.P. 98(c)(5), venue is proper in Weld County District Court.
Case 1:21-cv-02109-RM-KLM Document 8 Filed 08/04/21 USDC Colorado Page 2 of 4




                                FACTUAL ALLEGATIONS

    6.    Plaintiff incorporates herein by this reference the allegations set forth with
          specificity in preceding paragraphs of this Civil Complaint and Jury Demand, as
          if set forth verbatim.

    7.    On September 2, 2020, Plaintiff was walking from the parking lot to the entrance
          of King Soopers located at 6110 Firestone Blvd., Longmont, Colorado 80504.

    8.    Upon information and belief, King Soopers is owned and operated by Defendant
          at all times relevant to this case.

    9.    On that date and location, Plaintiff was walking on the sidewalk in front of King
          Soopers towards the entrance of the store when a defect in the sidewalk caused
          her to fall on the sidewalk.

    10.   The Plaintiff fell on the sidewalk and sustained injuries.

    11.   The Plaintiff was not negligent in any way regarding this injury.

    12.   The Plaintiff was an invitee for purposes of this injury and lawsuit.

    13.   The Defendant was a landowner for purposes of this injury and lawsuit.

    14.   The Defendant owed the Plaintiff a duty of reasonable care to protect the Plaintiff
          against known dangers or dangers that the Defendant might have discovered in
          the exercise of reasonable care.

    15.   The Defendant breached its duty owed to the Plaintiff.

    16.   The Plaintiff sustained economic damage as a direct and proximate cause of the
          Defendants’ breach of its duty owed to the Plaintiff.

    17.   The Plaintiff sustained non-economic damage as a direct and proximate cause of
          the Defendants’ breach of its duty owed to the Plaintiff.

    18.   The Plaintiff sustained permanent impairment and/or disfigurement as a direct and
          proximate cause of the Defendants’ breach of its duty owed to the Plaintiff.




                                FIRST CLAIM FOR RELIEF

                                                2
Case 1:21-cv-02109-RM-KLM Document 8 Filed 08/04/21 USDC Colorado Page 3 of 4




                                 Statutory Premises Liability
                                Pursuant to C.R.S. § 13-21-115

    19.    Plaintiff incorporates herein by this reference the allegations set forth with
           specificity the preceding paragraphs of this Civil Complaint and Jury Demand, as
           if set forth verbatim.

    20.    Defendant is a landowner for purposes of this injury and lawsuit because it is an
           authorized agent or a person in possession of the Property and a person legally
           responsible for the condition of Property or for the activities conducted or
           circumstances existing on the Property.

    21.    Plaintiff is an invitee because she entered or remained on the Property to transact
           business in which the Plaintiff and Defendant are mutually interested or who
           entered or remained on the Property in response to Defendant’s express or implied
           representation that the Plaintiff is requested, expected, or intended to enter or
           remain on the Property.

    22.    Defendant owed the Plaintiff a duty of reasonable care to protect the Plaintiff
           against known dangers or dangers that the Defendant might have discovered in
           the exercise of reasonable care on its Property.

    23.    Defendant breached its duty owed to the Plaintiff.

    24.    The Plaintiff sustained economic damage as a direct and proximate cause of
           Defendant’s breach of its duty owed to the Plaintiff.

    25.    The Plaintiff sustained non-economic damage as a direct and proximate cause of
           Defendant’s breach of its duty owed to the Plaintiff.

    26.    The Plaintiff sustained permanent impairment and/or disfigurement as a direct and
           proximate cause of Defendant’s breach of its duty owed to the Plaintiff.

           WHEREFORE, Plaintiff, Marilyn Norman, prays for judgment against Dillon
    Companies, LLC, in an amount to be determined by a jury at trial, for pre- and post-
    judgment interest, costs and expert witness fees, and for such other and further relief as
    the Court may deem just and proper.

           Plaintiff does hereby DEMAND A TRIAL BY JURY.

    Dated this 8th day of June 2021.

                                                        Respectfully submitted,

                                                        DILLMORE LAW LLC




                                                3
Case 1:21-cv-02109-RM-KLM Document 8 Filed 08/04/21 USDC Colorado Page 4 of 4




                                            /s/Justin A. Dillmore
                                            Justin A. Dillmore
                                            Attorney for Plaintiff

    Plaintiff’s Address:
    4927 St. Vrain Road
    Firestone, Colorado 80504-5339




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